Case 1:20-cr-00210-CKK Document 10 Filed 10/20/20 Page 1of1

CO 526 Rev, 5/2018

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

Criminal Case No.: 20-210 (CKK) _

VS.

ELLIOTT BROIDY

Nee ee ee ee
=a

OCT 20 2020

Clerk, U.S. District and
WAIVER OF TRIAL BY JURY Bankruptcy Courts

 

With the consent of the United States Attorney and the approval of the Court, the defendant

waives his right to trial by jury.

Defendant

 

 

I consent:

Agsistant United States attorney

Approved:

pai: Ochfe. Ady oars

 

Colleen Kollar-Kotelly

United States District Judge
